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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA,

 Plaintiff,
                                                           CRIMINAL NO. 07-488 (ADC)
                v.

 [45] ZULMA RIVERA-BENITEZ,

 Defendant.



                           REPORT AND RECOMMENDATION

        Defendant Zulma Rivera-Benítez was charged in Counts One (1) through Five (5), and

Count Eleven (11) of an Indictment and she agreed to plead guilty to Count One of the

Indictment. Count One charges that, beginning in or about the year 2005, exact date unknown,

and continuing up to and until the return the instant indictment in Trujillo Alto, Carolina and San

Juan, District of Puerto Rico and elsewhere, and within the jurisdiction of this Court, Zulma

Rivera-Benítez and other defendants, did knowingly and intentionally, conspire, combine and

agree with each other and others known and unknown to the Grand Jury, to commit offenses

against the United States, that is, to possess with intent to distribute one (1) kilogram or more of

heroin, a Schedule I, Narcotic Controlled Substance; fifty (50) grams or more of cocaine base

hereinafter referred to as crack cocaine), a Schedule II Controlled Substance, five (5) kilograms

or more of cocaine, a Schedule II, Controlled Substance; and detectable amounts of marihuana,

a Schedule I, Controlled Substance, within one thousand (1,000) feet of the real property

comprising a housing facility owned by a public housing authority, that is, Nuestra Señora de

Covadonga Public Housing Project; or of a public school, that is the Head Start Program

Located within Nuestra Señora de Covadonga Public Housing Project all in violation of Title 21,

United States Code, Sections 846, 845(a)(1), (b)(1)(C), (b)(2), and 860.
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         On August 15, 2008, defendant appeared before this Magistrate Judge, since the Rule11

hearing was referred by the Court. Defendant was provided with a Waiver of Right to Trial by

Jury, which she signed and agreed upon voluntarily after examination in open court, under oath.

         Defendant indicated and confirmed her intention to plead guilty to Count One of the

Indictment, upon being advised of her right to have said proceedings before a district judge of this

court.1 Upon verifying through defendant’s statement her age, education and any relevant aspect

as to the use of medication, drugs, alcohol or substance dependency, and psychological or

psychiatric condition, to ascertain her capacity and ability to understand, answer and comprehend

the interactive colloquy with this Magistrate Judge, a determination was made as to defendant’s

competency and ability to understand the proceedings.

         Having further advised defendant of the charges contained in above-stated Count One,

she was examined and verified as being correct that: she had consulted with her counsel, José R.

Gaztambide-Aneses, prior to the hearing for change of plea, that she was satisfied with the

services provided by her legal representative and had time to discuss with him all aspects of the

case, insofar, among other things, regarding the change of plea, the consent to proceed before

a United States Magistrate Judge, the content of the Indictment and the charges therein, her

constitutional rights and the consequences of the waiver of same.

         Defendant was specifically appraised by this Magistrate Judge that, upon withdrawing her

initial plea of not guilty and now entering a plea of guilty to the charge specified, she was waiving

her right to a public, speedy, and a trial by jury constituted by twelve jurors who have to

unanimously agree to a verdict. She was also waiving her right to be presumed innocent and for

         1
           The form entitled Consent to Proceed Before a United States Magistrate Judge in a Felony Case for
Pleading Guilty (Rule 11, Fed.R.Crim.P.) and Waiver of Jury Trial, signed and consented by both parties is made
part of the record.
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the government to meet the obligation of establishing her guilt beyond a reasonable doubt.

Furthermore, she was waiving her right during said trial to confront the witnesses who were to

testify against her and be able to cross-examine them, through counsel at said trial, as well as

present evidence on her behalf. She was also waiving the right to compel the attendance of

witnesses and that subpoenas be issued to have them appear in court to testify. Defendant was

specifically appraised of her right to take the stand and testify, if she so decided, or not to testify,

and no inference or decision as to her guilt could be made from the fact if she decides not to

testify. Defendant was also explained her right not to incriminate herself; that upon such a waiver

of all above-discussed rights a judgment of guilty and her sentence were to be based on her plea

of guilty, and she would be sentenced by the judge after considering the information contained

in a pre-sentence report.

         As to all the above, defendant provided an individualized and positive acknowledgment

of each and every waiver and, with the assistance of her counsel, Attorney Gaztambide-Aneses,

indicated she freely and voluntarily waived those rights and understood the consequences.

During all this colloquy, defendant was made aware that she could freely request from this

Magistrate Judge any additional clarification, repetition, or ask questions and that she may consult

with her attorney at any given time as to any issue.

         Defendant expressed her understanding of the penalties prescribed by statute for the

offenses as to which she was pleading guilty. The penalty for the offense charged in Count One

is term of imprisonment of not less than (10) years and up to life imprisonment, a fine not to

exceed four million dollars ($4,000,000.00), a term of supervised release of at least ten (10) years
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in addition to any term of incarceration. The Court must also impose a mandatory penalty

assessment of one hundred dollars($100.00), per count, to be deposited in the Crime Victim

Fund.

         Based on the stipulated and agreed amount of narcotics possessed by the defendant, that

is, at least three point five (3.5) kilograms but less than five (5) kilograms of cocaine, the penalty

for the offense shall be, a term of imprisonment of not less than five (5) years and not more than

eighty (80) years, and a fine not to exceed two million ($2,000,000.00) a term of supervised

release of at least eight (8) years, all pursuant to Title 21, United States Code, Section

845(b)(1)(B) and 860.

         Having ascertained directly from defendant that she had not been induced in any way to

plead guilty, that no one had forced her in any way to plead guilty, nor that she had been offered

any reward or any other thing of value to get her to plead guilty, the document entitled “Plea

Agreement” pursuant to Rule 11(c)(1)(A) and (B) FRCP (“the Agreement”) and the “Plea

Agreement Supplement” were shown to defendant, verifying her signature and initials on each

and every page.

         Pursuant to said Agreement, and insofar as Count One, as to which defendant already was

aware of the maximum possible penalties, defendant was appraised that it was up to the sole

discretion of the sentencing court what the sentence to be imposed on her will be. Defendant was

specifically informed that if the sentencing court were to impose a sentence which turned out to

be higher or more severe than the one he might be expecting, for said reason alone, defendant

would have no grounds for the court to allow her to withdraw her plea of guilty.

         The above-captioned parties’ estimate and agreement that appears on page four (4),

paragraph seven (7) of the Agreement, regarding the possible applicable advisory Sentencing
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Guidelines, were further elaborated and explained. The parties stipulate that, as part of the plea

agreement, the defendant is accepting responsibility for at least three point five (3.5) kilograms

but less than five (5) kilograms of cocaine. Pursuant to U.S.S.G. § 2D1.1(5), the Base Offense

Level is of Thirty (30). Pursuant to U.S.S.G. § 2D1.2(a)(1), a two (2) level increase is warranted

for protected location. Pursuant to U.S.S.G. § 3E1.1, a decrease of three (3) levels is agreed for

acceptance of responsibility. Therefore, the Total Offense Level is of Twenty-Nine (29), yielding

an imprisonment range of eighty-seven (87) to one hundred and eight (108) months, assuming

a Criminal History Category of One.

         The parties agree to recommend to the Court, that the defendant be sentenced to serve

a term of imprisonment for eighty-seven (87) months, or the lower end of the applicable

guidelines, whichever is greater. The parties understand that the Court is not bound by the

recommendation and that the Court, after consideration of the factors contemplated within the

U.S.S.G. and Title 18, United States Code, Section 3553 et seq., may sentence the defendant to

any amount of time up to and including the statutory maximum for the offense to which she

plead, and that such a sentence will not invalidate this agreement.

         Pursuant to paragraph 9, the United States and the defendant agree that no further

adjustments or departures to the defendant’s base offense level shall be sought by the parties.

The parties agree that any request by the defendant for an adjustment or departure will be

considered a material breach of this plea agreement.

         Pursuant to paragraph 10, the parties do not stipulate any assessment as to the

defendant’s Criminal History Category.

         At sentencing, the United States agrees to recommend a dismissal of the remaining counts

of the Indictment which were filed against the defendant.
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         As part of the written Agreement, the government, the defendant, and her counsel also

agreed they are aware that the Sentencing Guidelines are no longer mandatory and are thus

considered advisory.

         The government presented to this Magistrate Judge and to defendant, assisted by her

counsel, a summary of the basis in fact for the offenses charged and the evidence the government

had available to establish, in the event defendant had elected to go to trial, the commission of the

offense, beyond a reasonable doubt. Counsel and defendant acknowledged the evidence of the

government was fully disclosed to them and previously discussed between the two. Defendant

was able to understand this explanation and agreed with the government’s submission.

         Defendant was explained that the Agreement with the government does not bind any

other district, except the district of Puerto Rico, and it contained all the promises, terms and

conditions which defendant, her attorney and the government, have entered.

         Having once more ascertained that defendant has indicated not being induced to plead

guilty, and was entering such a plea because in fact she is guilty, without any promises or

predictions being made as to the sentence to be imposed by the court, defendant was informed

that parole has been abolished under the advisory Sentencing Reform Act and that any sentence

of imprisonment would be served, without her being released on parole.             Defendant was

additionally informed that prior to sentence, the sentencing judge will have a pre-sentence report

and that it would be made available to her, to her counsel and to the government, so that they
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be allowed to correct or object to any information contained in said report which was not

accurate. Depending on the facts found by the court at the time and the sentence imposed, both

defendant and the government may appeal the sentence of the court.2

          Count One of the Indictment was read in open court to defendant and she stated she

understood the charges and that she was pleading guilty to Count One. Defendant was shown

a written document entitled Statement of Facts, which had been signed by defendant and her

counsel and is attached to the Agreement, wherein the signature of counsel for the government

also appears. Defendant was provided an opportunity to see and examine same, indicating she

availed herself of the opportunity to further discuss same with her attorney and then she positively

stated that what was contained in Count One was what she had done and to which she was

pleading guilty during these proceedings. Thereafter, defendant expressed in no uncertain terms

that she agreed with the government’s evidence as to her participation in the offense. Thereupon,

defendant indicated she was pleading guilty to Count One of the Indictment in Criminal No.

07–488 (ADC).

          This Magistrate Judge after having explained to the defendant her rights, ascertaining that

she was acting freely and voluntarily to the waiver of such rights and in her decision of pleading

guilty, with full knowledge of the consequences thereof, and there being a basis in fact for such

a plea, is recommending that a plea of guilty be entered as to Count One of the Indictment in

Criminal No. 07-488 (ADC).




          2
          The right to appeal is subject to certain limitations allowed by law since the Agreement also includes in paragraph twenty
(20) a waiver of appeal. Defendant acknowledged discussing the waiver of appeal with her counsel and stated she understood
the consequences of the same.
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         IT IS SO RECOMMENDED.

         The sentencing hearing will be scheduled promptly, before Honorable Aida M. Delgado-

Colón, District Court Judge.

         San Juan, Puerto Rico, this 15th day of August of 2008.



                                                        s/ CAMILLE L. VELEZ-RIVE
                                                        CAMILLE L. VELEZ-RIVE
                                                        UNITED STATES MAGISTRATE JUDGE
